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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA


  SONY MUSIC ENTERTAINMENT, et al.,

                 Plaintiffs,

         v.                                               Case No. 1:18-cv-00950-LO-JFA

  COX COMMUNICATIONS, INC. and
  COXCOM, LLC.

                 Defendants.



                         COX’S PROPOSED VOIR DIRE QUESTIONS

        Defendants Cox Communications, Inc. and CoxCom, LLC (“Cox”) submit these pro-

 posed voir dire questions pursuant to Local Rule 51. Cox reserves the right to supplement these

 proposed voir dire questions with additional questions at any time prior to the beginning of trial

 and for all other purposes contemplated by the Local Rules.
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                                    Cox’s Proposed Voir Dire

    A. Standard Questions:

    1. Have any of you acquired any information about this case either from news media or
       other sources?

    2. Do any of you have any interest in the trial or the outcome of this case based on the little
       bit that I’ve told you so far?

    3. Does anyone here have any feelings of sympathy toward or bias towards either party so
       that you would be unable to be fair to both sides in the case?

    4. Do any of you have a problem seeing or hearing that may prevent you from understand-
       ing the testimony or observing the evidence?

    5. Is there any member of the panel who has any special disability or problem that would
       make serving as a member of the jury difficult or impossible?

    6. Do any of you have any difficulty understanding the English language?

    7. Has any member served as a juror in a criminal or a civil case or as a member of a grand
       jury here in federal court or in state court? Were you ever a jury foreperson?

    8. Has any member of the panel ever served as an expert or a fact witness for any party in a
       lawsuit?

    9. Do you, any member of your family, or close friend have any legal training or back-
       ground?

    10. Have you or anyone in your immediate family ever participated in any lawsuit either as a
        party, a witness, or in any other capacity? If so, please explain.

    11. What is the highest level of education you have attained?

    12. If you hold any degrees from an institution of higher education, in what area of study is
        your degree?

    13. Are you involved in any hobbies, clubs, or organizations? Do you hold any position of
        leadership (board member, secretary, etc.) for any of these organizations?

    14. I am going to read you a list of names representing the parties in this case:

           •   Sony Music Entertainment, Arista Music, Arista Records LLC, LaFace Records
               LLC, Provident Label Group, LLC, Sony Music Entertainment US Latin, Volcano
               Entertainment III, LLC, Zomba Recordings LLC, Sony/ATV Music Publishing


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               LLC, EMI Al Gallico Music Corp., EMI Algee Music Corp., EMI April Music
               Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI Consortium
               Music Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc.,
               individually and d/b/a EMI Longitude Music, EMI Feist Catalog Inc., EMI Miller
               Catalog Inc., EMI Mills Music, Inc., EMI Unart Catalog Inc., EMI U Catalog
               Inc., Jobete Music Co. Inc., Stone Agate Music, Screen Gems-EMI Music Inc.,
               Stone Diamond Music Corp., Atlantic Recording Corporation, Bad Boy Records
               LLC, Elektra Entertainment Group Inc., Fueled By Ramen LLC, Nonesuch Rec-
               ords Inc., Roadrunner Records, Inc., Warner Bros. Records Inc., Warner/Chappell
               Music, Inc., Warner-Tamerlane Publishing Corp., WB Music Corp., W.B.M. Mu-
               sic Corp., Unichappell Music Inc., Rightsong Music Inc., Cotillion Music, Inc.,
               Intersong U.S.A., Inc., UMG Recordings, Inc., Capitol Records, LLC, Universal
               Music Corp., Universal Music – MGB NA LLC, Universal Music Publishing Inc.,
               Universal Music Publishing AB, Universal Music Publishing Limited, Universal
               Music Publishing MGB Limited, Universal Music – Z Tunes LLC, Universal/Is-
               land Music Limited, Universal/MCA Music Publishing Pty. Limited, Universal –
               Polygram International Tunes, Inc., Universal – Songs of Polygram International,
               Inc., Universal Polygram International Publishing, Inc., Music Corporation of
               America, Inc. d/b/a Universal Music Corp., Polygram Publishing, Inc., Rondor
               Music International, Inc., Songs of Universal, Inc., Cox Communications, Inc.,
               CoxCom, LLC.

       For those who recognize any of the party names please answer the following questions:

           •   Are you personally acquainted with any current or former officer, director, or em-
               ployee of any of those companies?

           •   Do you or any family member have any financial relationship, past or present,
               with any of these companies?

           •   Do you, any family member, or anyone close to you have any strong feelings,
               positive or negative, toward any of these companies?

    15. I am now going to read you a list of attorneys and law firms involved in this litigation:
        Oppenheim + Zebrak, LLP; Scott Zebrak, Matthew Oppenheim, Jeffrey Gould, Kerry
        Mustico, Andrew Guerra, Lucy Noyola; Winston & Strawn LLP; Michael Elkin, Thomas
        Patrick Lane, Jennifer Golinveaux, Thomas Buchanan, Mike Brody, Diana Hughes Lei-
        den, Thomas Kearney, Sean Anderson, Cesie Alvarez.

           •   Are you related to, or personally acquainted with, any of those attorneys, or have
               you ever been represented by any of those attorneys or other associates or mem-
               bers of the listed law firms?

           •   Do you know anyone employed by or through these attorneys and law firms?




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    16. I am now going to read you a list of the individuals who might appear as witnesses in this
        case: Brent Beck, Christian Tregillis, Christopher Bakewell, Kevin Almeroth, Linda
        Trickey, Lynne Weber, Matt Carothers, Nick Feamster, Sandy Mencher, Christopher
        Monson, Sam Bahun, Sidd Negretti, Slawomir Paszowksi, Steven Marks, Vance Ikezoye,
        Victoria Sheckler, Barbara Fredericksen-Cross, Brian Stifel, Clint Summers, George
        McCabe, Jason Zabek, Joseph Sikes, Paul Jarchow, Randy Cadenhead, Terrence
        McGarty, William Lehr, Alasdair McMullan, Anish Patel, Christopher Bell, David Ben-
        jamin, David Kokakis, Dong Jang, Jason Gallien, Jeremy Blietz, Jon Glass, Matt Flott,
        Michael Abitbol, Neil Carfora, Paul Kahn, Stephen Poltorak, Tom Foley, Wade Leak, Jill
        Lesser, Jorge Fuenzalida, Samuel Rubin, Seth Nielson, William Basquin.

           •   Are you related to, or personally acquainted with, any of those individuals?

    17. If you are married or live with a partner, what is your spouse or partner’s current employ-
        ment?

    18. How many people live with you in your home?

    19. Do you have any children?

           •   If so, what are their ages?

    20. This trial is scheduled to last approximately 2 weeks. Is there any reason why you cannot
        serve as a juror for this period of time?

    B. Case Specific Questions:

    21. Do any of you, a close friend, or family member have education, training, or do work in
        Internet, satellite, or communications services, including wireless?

    22. Do any of you, a close friend, or family member have education, training, or do work in
        software development or programming, electrical or computer engineering, or infor-
        mation technology?

    23. Do any of you, a close friend, or family member have education, training, or do work in-
        volving intellectual property such as patents, trademarks, or copyright?

    24. Do any of you, a close friend, or family member have education, training, or do work in
        music publishing, production, or performance?

    25. Do any of you subscribe to a home Internet service? Does anybody not subscribe to a
        home Internet service?

    26. Do any of you receive your home Internet from a cable company?

    27. About how many hours a day would you say you spend on the Internet?


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    28. What do you do online? Please be specific – for example, shopping, posting to Facebook
        or other social media sites, doing research?

    29. Do you have any particularly positive or negative feelings about Internet service provid-
        ers or cable companies?

    30. Have you ever been suspended or terminated as a subscriber by an Internet service pro-
        vider? If so, what was the reason?

    31. Have you ever received a notice of alleged copyright infringement from your Internet
        Service Provider? If so, did you email, speak, or otherwise communicate with your ISP
        about the notice? How did you resolve the matter?

    32. Do you or anyone close to you have experience with cable or Internet service provider
        companies beyond being a subscriber? If yes, please explain.

    33. Do any of you have strong opinions, either positive or negative, about music publishers,
        record companies, copyright protection for music, or downloading music?

    34. Do you or anyone close to you have experience with copyrights or musical artists, either
        personally or for a company you have worked for? If so, please explain.

    35. Do you or anyone close to you have experience with the music industry or do you play
        music professionally? If yes, please explain.

    36. Do you have any experience with music licensing or royalty agreements? If yes, please
        explain.

    37. Do you, a relative, or a friend make all or any portion of your livelihood from writing,
        performing, selling, distributing, or managing the rights to music, including licensing or
        royalties from music?

    38. Have you formed or expressed any opinion as to how you expect this lawsuit will con-
        clude?

    39. Could you describe the work you do or did most recently (for those who retired or unem-
        ployed)? Please include any use of the Internet that is or was part of your work.

    40. Have you ever received any services (residential or business) from Cox? If so, please
        specify which services you received.

    41. Have you downloaded music from the Internet?

    42. Have you streamed music from the Internet?




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    43. Have you heard of or visited the websites Torrentfreak.com, Arstechnica.com, or
        Techdirt.com?

    44. Have you heard of or visited the following websites, ThePirateBay, KickAss Torrents,
        Torrentz, PublicBT, or Extratorrent?

    45. Have you heard of BitTorrent, Gnutella, Ares, or eDonkey?

    46. Have you used BitTorrent, Gnutella, Ares, or eDonkey to download music?

    47. Have you used internet file sharing, also called the peer-to-peer, P2P networking or com-
        puting?

    48. Have you, a family member, or a close friend, worked at the FCC, Federal Communica-
        tions Commission?

    49. Have you, a family member, or a close friend, worked at the Library of Congress?

    50. Have you, a relative, or close friend ever filed for or received a copyright, trademark, or a
        patent?

    51. Do you, a relative, or a close friend make all or any portion of your livelihood in the In-
        ternet, wireless, or satellite industries?

    52. If you are selected to sit on the case, are you able to render a verdict solely on the evi-
        dence presented at the trial and in the context of the law that I give you in my instructions
        and agree to disregard any other ideas, notions or beliefs that you may have encountered
        in your personal life?

 Dated: November 25, 2019                              Respectfully submitted,

                                                       s/ Thomas M. Buchanan
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 25, 2019, a copy of the foregoing Defendants’ Proposed

 Voir Dire Questions was filed electronically with the Clerk of Court using the ECF system which

 will send notifications to ECF participants.



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